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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



 STATE OF NEW YORK, et al.,

          Plaintiffs,

                v.
                                                             Case No. 1:25-Civ-00196
 ROBERT F. KENNEDY, JR., in his official capacity
 as SECRETARY OF THE U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.

          Defendants.


                        NOTICE OF SUPPLEMENTAL AUTHORITY


        Plaintiff States write to notify the Court of supplemental authority relevant to their pending

 Motion for a Preliminary Injunction, ECF No. 43: a memorandum and order issued earlier today

 by the U.S. District Court for the District of Massachusetts granting states’ and consolidated

 plaintiffs’ motions for a preliminary injunction in State of New York v. Linda McMahon, Case No.

 1:25-cv-10601-MJJ, ECF No. 128 (D. Mass. May 22, 2025) (Joun, J.), which challenges mass

 terminations at and reorganization of the U.S. Department of Education. Under the Order, among

 other things, the defendants are enjoined from carrying out the challenged reduction-in-force, and

 federal employees whose employment was terminated as part of the reduction-in-force must be

 reinstated to restore the Department to the status quo. Plaintiff States submit this in-circuit

 supplemental authority due to the analogous factual posture involving the alleged significant

 dismantling of another cabinet-level agency and the similarities in legal arguments raised by the

 parties regarding agency and executive authority. Plaintiff States note that government has filed a

 notice of appeal of this decision. See id. ECF No. 130.


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 Dated: May 22, 2025                              Respectfully submitted,
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